Case 1:18-cv-01219-RLY-DLP Document 1 Filed 04/23/18 Page 1 of 13 PageID #: 1




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

PLANNED PARENTHOOD OF                             )
INDIANA AND KENTUCKY, INC.,                       )
                                                  )
               Plaintiff,                         )
                                                  )
               v.                                 )     No. 1:18-cv-1219
                                                  )
COMMISSIONER, INDIANA STATE                       )
DEPARTMENT OF HEALTH, in her                      )
official capacity;                                )
PROSECUTORS OF MARION, LAKE,                      )
MONROE, and TIPPECANOE COUNTIES,                  )
INDIANA, in their official capacities;            )
THE INDIVIDUAL MEMBERS OF                         )
THE MEDICAL LICENSING BOARD                       )
OF INDIANA, in their official capacities,         )
                                                  )
               Defendants.                        )

      Complaint for Declaratory and Injunctive Relief / Notice of Challenge to
                       Constitutionality of Indiana Statute

Introduction

1.     Recently enacted Indiana Senate Enrolled Act No. 340 (“Enrolled Act”), signed

into law by the Governor of the State of Indiana on March 25, 2018, imposes a new

requirement on, among others, Planned Parenthood of Indiana and Kentucky, Inc.

(“PPINK”) and its physicians to report “all abortion complications.” This term is defined

so vaguely that it is impossible to determine what is or is not covered, despite the fact

that failure to properly comply with the statute may, after July 1, 2018, lead to licensing

consequences, and will, in 2019, be a crime. This vagueness offends due process.

Moreover, even if not vague the definition of “complication” includes matters that are

                                            [1]
Case 1:18-cv-01219-RLY-DLP Document 1 Filed 04/23/18 Page 2 of 13 PageID #: 2




not considered complications at all as well as complications that are not likely to occur at

all after abortions, but are more likely for other medical procedures. Imposing these

requirements only concerning abortion procedures, which have been proven to be

extremely safe with few complications is irrational. All of this violates due process and

equal protection.

2.     The Enrolled Act also imposes uniquely onerous inspection requirements

attendant to the relicensing of abortion clinics but no similar requirements upon similar

outpatient settings or hospitals. This violates equal protection.

3.     Appropriate injunctive and declaratory relief should issue against the

unconstitutional portions of the Enrolled Act.

Jurisdiction, venue, cause of action

4.     This Court has jurisdiction of this matter pursuant to 28 U.S.C. §§ 1331, 1343.

5.     Venue is proper in this district pursuant to 28 U.S.C. § 1391.

6.     Declaratory relief is authorized by 28 U.S.C. §§ 2201 and 2201 and by Rule 57 of

the Federal Rules of Civil Procedure.

7.     This action is brought pursuant to 42 U.S.C. § 1983 to redress the deprivation,

under color of state law, of rights secured by the Constitution of the United States.

Parties

8.     Planned Parenthood of Indiana and Kentucky, Inc., is a not-for-profit corporation

with its principal place of business in Indiana. It brings this action on its own behalf, and

on behalf of its patients and staff.

9.     The Commissioner of the Indiana State Department of Health is the duly

                                             [2]
Case 1:18-cv-01219-RLY-DLP Document 1 Filed 04/23/18 Page 3 of 13 PageID #: 3




appointed official in charge of that agency, which is responsible for licensing abortion

clinics pursuant to Indiana law. She is sued in her official capacity and is designated by

her official title pursuant to Fed. R. Civ. P. 17(d).

10.    The Prosecutors of Marion, Lake, Monroe, and Tippecanoe Counties, Indiana, are

the duly elected prosecutors of the counties in which Planned Parenthood of Indiana and

Kentucky health centers that provide abortion services are located and the prosecutors

are responsible for prosecuting crimes occurring in their respective counties. They are

sued in their official capacities and are designated by their official title pursuant to Fed.

R. Civ. P. 17(d).

11.    The Individual Members of the Medical Licensing Board of Indiana comprise the

body that licenses and disciplines physicians in Indiana. They are sued in their official

capacities and are designated by their official title pursuant to Fed R. Civ. P. 17(d).

Legal background

12.    The Enrolled Act creates a new statutory section that requires all hospitals,

physicians, and licensed abortion clinics to report to the Indiana State Department of

Health information concerning the treatment of any and all patients for “abortion

complications.” Ind. Code § 16-34-2-4.7(b) (eff. July 1, 2018).

13.    The statute provides that:

       As used in this section, "abortion complication" means any adverse physical or
       psychological condition arising from the induction or performance of an abortion.
       The term includes the following:

              (1) Uterine perforation.
              (2) Cervical perforation.
              (3) Infection.

                                               [3]
Case 1:18-cv-01219-RLY-DLP Document 1 Filed 04/23/18 Page 4 of 13 PageID #: 4




               (4) Hemorrhaging.
               (5) Blood clots.
               (6) Failure to terminate the pregnancy.
               (7) Incomplete abortion (retained tissue).
               (8) Pelvic inflammatory disease.
               (9) Missed ectopic pregnancy.
               (10) Cardiac arrest.
               (11) Respiratory arrest.
               (12) Renal failure.
               (13) Metabolic disorder.
               (14) Shock.
               (15) Embolism.
               (16) Coma.
               (17) Placenta previa in subsequent pregnancies.
               (18) Pre-term delivery in subsequent pregnancies.
               (19) Free fluid in the abdomen.
               (20) Hemolytic reaction due to the administration of ABO-incompatible
               blood or blood products.
               (21) Hypoglycemia occurring while the patient is being treated at the
               abortion facility.
               (22) Physical injury associated with treatment performed at the abortion
               facility.
               (23) Adverse reaction to anesthesia or other drugs.
               (24) Psychological or emotional complications, including depression,
               suicidal ideation, anxiety, and sleeping disorders.
               (25) Death.
               (26) Any other adverse event as defined by criteria provided in the Food
               and Drug Administration Safety Information and Adverse Event Reporting
               Program.

Ind. Code § 16-34-2-4.7(a) (eff. July 1, 2018).

14.    Although the statute is effective July 1, 2018, it also provides that before February

1, 2019, the Department of Health must inform the providers noted above of the new

requirements concerning reporting of abortion complications. Ind. Code § 16-34-2-4.7(f).

15.    The “abortion complications” are to be provided to the Indiana State Department

of Health on a form to be developed by the Department before February 1, 2019. Ind.

Code § 16-34-2-4.7(c), (d) (eff. July 1, 2018).

                                                  [4]
Case 1:18-cv-01219-RLY-DLP Document 1 Filed 04/23/18 Page 5 of 13 PageID #: 5




16.    The statute provides that physicians, hospitals, and abortion clinics are required

to submit this report. Ind. Code § 16-34-2-4.7(b).

17.    The report must include the following information:

               (1) The date the patient presented for treatment for the abortion
               complication.
               (2) The age of the patient.
               (3) The race of the patient.
               (4) The county and state of the patient's residence.
               (5) The type of abortion obtained by the patient.
               (6) The date of abortion obtained by the patient.
               (7) The name of the:
                       (A) abortion clinic;
                       (B) medical facility; or
                       (C) hospital; where the patient obtained the abortion.
               (8) Whether the patient obtained abortion medication via mail order or
               Internet web site, and if so, information identifying the source of the
               medication.
               (9) Whether the complication was previously managed by the abortion
               provider or the abortion provider's required back-up physician.
               (10) The name of the medications taken by the patient as part of the
               pharmaceutical abortion regimen, if any.
               (11) A list of each diagnosed complication.
               (12) A list of each treated complication, with a description of the treatment
               provided.
               (13) Whether the patient's visit to treat the complications was the original
               visit or a follow-up visit.
               (14) The date of each follow-up visit, if any.
               (15) A list of each complication diagnosed at a follow-up visit, if any.
               (16) A list of each complication treated at a follow-up visit, if any.

Ind. Code § 16-34-2-4.7(e) (eff. July 1, 2018).

18.    Each year the Indiana State Department of Health must summarize the aggregate

data collected and submit it to the United States Centers for Disease Control and

Prevention for inclusion in its annual Vital Statistics Report. Ind. Code § 16-34-2-4.7(h)

(eff. July 1, 2018).


                                              [5]
Case 1:18-cv-01219-RLY-DLP Document 1 Filed 04/23/18 Page 6 of 13 PageID #: 6




19.    The statute provides that no identifying information of the women will be

included in the report. Ind. Code § 16-34-2-4.7(a) (eff. July 1, 2018).

20.    After August 31, 2019, the failure to report an abortion complication will be a Class

B misdemeanor. Ind. Code § 16-34-2-4.7(j) (eff. July 1, 2018).

21.    At the current time existing regulations of the Indiana State Department of Health

require that hospitals, ambulatory outpatient surgical centers, and abortion clinics inform

the Department of “reportable events.” 410 IAC 15-1.4-2.2 (hospitals); 410 IAC 15-2.4-2.2

(ambulatory outpatient surgical centers); 410 IAC 26-6-2 (abortion clinics) These

regulations are identical, except for the facilities to which they apply, and note as

reportable events such things as: surgery performed on the wrong patient or body part;

mistaken retention of foreign objects in a patient following surgery; patient death or

serious disability associated with use of contaminated drugs, devices, biologics,

medication error, falls, or burns.

22.    Indiana law provides that a “license to operate a hospital, an ambulatory

outpatient surgical center, an abortion clinic, or a birthing center” is applied for and

renewed annually and may be renewed “annually upon payment of a renewal fee.” Ind.

Code § 16-21-2-14(1), (5).

23.    At the current time Indiana State Department of Health may inspect an abortion

clinic each year, and conduct a complaint investigation at any time. Ind. Code § 16-21-2-

2.6. Current regulations provide that the licensing survey shall occur at least once every

two years. 410 IAC 26-3-2(a).        The Enrolled Act changes this to specify that the

Department “shall inspect an abortion clinic” at least once a year. Indiana Code § 16-21-

                                              [6]
Case 1:18-cv-01219-RLY-DLP Document 1 Filed 04/23/18 Page 7 of 13 PageID #: 7




2-2.6 (eff. July 1, 2018). There are no similar statutes requiring an annual inspection of

hospitals and ambulatory outpatient surgical centers.

24.    An abortion clinic may lose or be denied a license for violating any provisions of

Indiana Code 16-21 or if it permits, aids, or abets the commission of any illegal acts in the

clinic; engages in conduct or practices found to be detrimental to its patients; or if the

application submitted or supporting documentation provides inaccurate information.

410 IAC 26-2-5(3), (6), (7).

25.    Under Indiana law the Indiana Medical Licensing Board regulates physicians,

Indiana Code § 25-22.5-2-7; 844 IAC 5-2-1, and has the power to discipline any physician

who, among other things, “knowingly violate[s] any state statute or rule, or federal

statute or regulation, regulating the profession in question,” Indiana Code § 25-1-9-4(3).

26.    A physician with an Indiana license who commits a crime that has a direct bearing

on the physician’s ability to practice competently or is harmful to the public or who

knowingly violates any state law or rule regulating the medical profession is subject to

discipline from the Indiana Medical Licensing Board. Ind. Code § 25-1-9-4(a)(2), (3).

Factual allegations

       General facts

27.    PPINK operates numerous health clinics in Indiana where thousands of women,

men, and teens are able to receive reproductive health care services and comprehensive

sexuality education.

28.    PPINK operates three health centers in Indiana, located in Bloomington,

Merrillville, and Indianapolis, which offer both surgical abortion services and abortions

                                             [7]
Case 1:18-cv-01219-RLY-DLP Document 1 Filed 04/23/18 Page 8 of 13 PageID #: 8




using medications alone (known as “medication abortions”).

29.    Additionally, PPINK operates a health center in Lafayette, Indiana, which

provides only medication abortions.

30.    At PPINK, surgical abortions are available through the first trimester of

pregnancy, 13 weeks and 6 days after the first day of a woman’s last menstrual period, as

determined by ultrasound.

31.    Medication abortions are currently available through 70 days after the first day of

a woman’s last menstrual period as determined by ultrasound.

32.    PPINK both employs and contracts with physicians who provide abortion

services.

33.    Although PPINK is the largest provider of first trimester abortions in Indiana, only

a small percentage of its patients receive abortion services, with the bulk of its patients

receiving other health services.

       The new inspection and licensing requirements

34.    PPINK is required to apply each year to the Indiana State Department of Health

for renewal of its license to operate each of its existing health centers providing abortion

services.

35.    Until 2018, PPINK’s health centers providing abortion services were inspected

every other year by the Indiana State Department of Health. In 2018 the health centers

were inspected 13 or 14 months after the prior inspection.

36.    These inspections are staff intensive. They take at least two full days and require

the presence of PPINK’s vice-president of patient services, regional director, quality/risk

                                            [8]
Case 1:18-cv-01219-RLY-DLP Document 1 Filed 04/23/18 Page 9 of 13 PageID #: 9




manager, and director of clinical services.

37.    On information and belief, after July 1, 2018, the effective date of Indiana Code §

16-21-2-2.6, abortion clinics will be required to be inspected annually while no similar

statutory requirement will be imposed on hospitals and ambulatory outpatient surgical

centers.

       Abortion complications

38.    Although the criminal penalties for failing to report abortion complications are not

effective until August 31, 2019, the law itself is effective on July 1, 2018, and PPINK will

therefore have to begin collecting the necessary information and begin to prepare to file

reports when required.

39.    Although the statute requires that PPINK report all “abortion complications,” the

definition of that term, “any adverse physical or psychological condition arising from the

induction or performance of an abortion,” Ind. Code § 16-34-2-4.7(a), is so broad as to be

meaningless and provides no guidance to PPINK and its health providers. The term is

vague and uncertain.

40.    The vagueness is compounded by the fact that some of the items on the list are not

complications of abortion at all. Moreover, the listing of examples of complications cite

many medical conditions which are both extremely rare for abortions and are more likely

to occur after other medical procedures. And at least one of the “abortion complications,”

e.g., “blood clots,” is a typical, transient, and potential side effects of abortions. See, e.g.,

Indiana    State   Department      of   Health,      Abortion   Informed   Consent     Brochure,

http://www.in.gov/isdh/files/Abortion_Informed_Consent_Brochure.pdf (last visited on March

                                               [9]
Case 1:18-cv-01219-RLY-DLP Document 1 Filed 04/23/18 Page 10 of 13 PageID #: 10




 29, 2018) (noting that after a surgical abortion “[y]ou may have cramping and bleeding

 after the procedure” and “[y]ou may pass a few blood clots and experience heavy

 bleeding for a few days” [at 7], and that in a medication abortion one of the drugs used

 cause “cramps, heavy bleeding, and expulsion of the embryo” [at 8]).

 41.      Despite the fact that abortions have been repeatedly recognized as safe with

 minimal adverse side effects, on information and belief, there are no other Indiana laws

 or regulations that impose comparable reporting requirements on physicians and health

 care facilities following procedures other than abortions, even though there is a much

 greater chance that many of the potential complications listed will occur with procedures

 other than abortions.

 42.      Although the Enrolled Act provides that the data collected will be submitted to

 the United States Centers for Disease Control and Prevention for its inclusion in the

 annual Vital Statistics Report, there is no requirement imposed by the federal government

 or federal law or regulation that such information be submitted and the Centers for

 Disease Control has requested only information on maternal age, gestation age, race,

 ethnicity, method type of abortion, marital status, number of previous live births, number

 of previous abortions, state of residence, and abortion mortality. Centers for Disease

 Control       and      Prevention,    Abortion    Surveillance-United     States,    2014

 https://www.cdc.gov/mmwr/volumes/66/ss/ss6624a1.htm (last visited Apr. 18,

 2018).

          Concluding allegations

 43.      PPINK is committed to advocating for its patients’ rights to obtain abortion

                                            [10]
Case 1:18-cv-01219-RLY-DLP Document 1 Filed 04/23/18 Page 11 of 13 PageID #: 11




 services as constitutionally protected and to protect their rights to privacy.

 44.    At all times defendants will act under color of state law.

 45.    The actions of the defendants will cause PPINK, its patients, and staff irreparable

 harm for which there is no adequate remedy at law.

 Legal claims

 46.    The new inspection provision of the Enrolled Act, Indiana Code § 16-21-2-2.6 (eff.

 July 1, 2018)), impose an annual inspection requirement on abortion clinics, including

 PPINK, even though similar requirements are not imposed on other medical facilities that

 are engaging in far riskier procedures. This is irrational and arbitrary and violates the

 Equal Protection Clause of the Fourteenth Amendment.

 47.    Indiana Code § 16-34-2-4.7 (eff. July 1, 2018), requiring the identification and

 reporting of “abortion complications,” establishes vague and uncertain standards and is

 otherwise irrational and arbitrary in violation of the Due Process Clause of the Fourteenth

 Amendment.

 48.    Indiana Code § 16-34-2-4.7 (eff. July 1, 2018), requiring the identification and

 reporting of “abortion complications,” imposes unique and burdensome obligations

 concerning abortions, while ignoring other medical procedures that are far more likely to

 cause complications It is irrational and discriminatory in violation of both the Due

 Process and the Equal Protection Clauses of the Fourteenth Amendment.

        WHEREFORE, Planned Parenthood of Indiana and Kentucky, Inc., requests that

 this Court:

        a.      Accept jurisdiction of this case and set it for hearing at the earliest

                                             [11]
Case 1:18-cv-01219-RLY-DLP Document 1 Filed 04/23/18 Page 12 of 13 PageID #: 12




      opportunity.

      b.    Enter a declaratory judgment that the above provisions of the Enrolled Act
      are unconstitutional for the reasons noted above.

      c.    Enter a preliminary injunction, later to be made permanent, enjoining,
      Indiana Code §§ 16-21-2-2.6 and 16-34-2-4.7(a) (eff. July 1, 2018).

      d.     Award plaintiff its reasonable costs and attorneys’ fees pursuant to 42
      U.S.C. § 1988.

      e.    Award all other proper relief.


                                       s/ Kenneth J. Falk
                                       Kenneth J. Falk
                                       No. 6777-49


                                       s/ Gavin M. Rose
                                       Gavin M. Rose
                                       No. 26565-53


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                                         [12]
Case 1:18-cv-01219-RLY-DLP Document 1 Filed 04/23/18 Page 13 of 13 PageID #: 13




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